
Patterson, J.
thought the examination ought to have been signed by the prisoner.
Sitgreaves, J.
said the first objection had much weight with him, and
Mr. Attorney of the U. S. withdrew his motion.
The prisoner was found guilty upon other evidence.
And it was moved in arrest of judgment, on the ground that the length and depth of the wound were not mentioned in the indictment.
The prisoner’s counsel cited 4 Co. 42. Haydon’s case.
The Court did not intimate that they had any doubt, but said if they had they would direct a copy of the indictment and reasons to be transmitted to the Supreme Court.
CURIA ADVISARS VULT.
The Court directed the prisoner to be arraigned on another indictment, which had been found against him.
Whereupon he pleaded not guilty, and the Court ordered the trial to be proceeded on instantly:
And with some difficulty was prevailed on to adjourn it to the succeeding Monday, it being Saturday.
An order was then made, that the Marshall send expresses to the grand jury (who had been discharged) commanding their immediate return.
On the Monday following, the prisoner was brought to the bar, as he and his counsel expected, to be tried on the second indictment:
But the Court informed the bar, they would take up the motion in arrest of judgment.
*81On the part of the United States, several precedents of indictments were read out of West, in which the length and depth of the wound are not mentioned.
Martin observed, that in all the indictments, (but one,) in which the length and depth of the wound we not mentioned, the instrument had gone through the body of the person killed, some limb had been cut off, or the wound had been given with a blunt weapon-In this case the mortal wound was stated to have been given with an axe, on the head—That the authority in Coke, was not only unshaken, but frequently recognized.
The Court however overruled the motion, without making any observation, and passed
Sentence of Death.
*** At the same time sentence was passed on three other men who had been included in the same indictment: and they were soon after executed. This is the first time that judgment of death was given under the authority of the United States.
